




02-12-510-CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

&nbsp;

NO. 02-12-00510-CR

&nbsp;

&nbsp;


 
  
  David
  Franklin Ashworth
  &nbsp;
  &nbsp;
  &nbsp;
  v.
  &nbsp;
  &nbsp;
  &nbsp;
  The
  State of Texas
  
  
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  
  
  From Criminal District
  Court No. 4
  &nbsp;
  of
  Tarrant County (1265594D)
  &nbsp;
  December
  6, 2012
  &nbsp;
  Per
  Curiam
  &nbsp;
  (nfp)
  
 


&nbsp;

JUDGMENT

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This
court has considered the record on appeal in this case and holds that the
appeal should be dismissed.&nbsp; It is ordered that the appeal is dismissed.

&nbsp;

SECOND DISTRICT COURT OF APPEALS 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;








&nbsp;

&nbsp;

&nbsp;


 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

&nbsp;

NO. 02-12-00510-CR

&nbsp;

&nbsp;


 
  
  David Franklin Ashworth
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE
  
 


&nbsp;

&nbsp;

----------

FROM Criminal
District Court No. 4 OF Tarrant COUNTY

----------

MEMORANDUM
OPINION[1]

----------

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
May 3, 2012, as part of a plea-bargain agreement, Appellant David Franklin
Ashworth pled guilty to burglary of a building, and the trial court sentenced him
to eighteen months’ confinement in a state-jail facility.&nbsp; Also on May 3, 2012,
the trial court certified that this is a plea-bargain case and that Appellant
has no right of appeal.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Despite
the trial court’s certification, Appellant filed a pro se notice of appeal on
October 12, 2012.&nbsp; On October 31, 2012, we notified Appellant’s counsel and
Appellant that the trial court’s certification indicating that Appellant had no
right of appeal had been filed in this court and that this appeal could be dismissed
unless Appellant or any party desiring to continue the appeal filed a response
showing grounds for continuing the appeal on or before November 12, 2012.&nbsp; See
Tex. R. App. P. 25.2(d), 44.3.&nbsp; To date, we have
received no response.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Rule 25.2(a)(2)
limits the right of appeal in a plea-bargain case to matters that were raised
by written motion filed and ruled on before trial or to cases in which the
appellant obtained the trial court’s permission to appeal.&nbsp; Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court’s certification shows that Appellant did not obtain the trial
court’s permission to appeal, and Appellant does not challenge a pretrial
ruling on a written motion or the validity of his waiver of the right to appeal
such a motion, which the record shows he waived as part of the plea-bargain
agreement.&nbsp; Accordingly, we dismiss this appeal.&nbsp; See Tex. R. App. P.
25.2(d), 43.2(f).

&nbsp;

PER
CURIAM

PANEL:&nbsp; GABRIEL,
J.; LIVINGSTON, C.J.; and DAUPHINOT, J.

DO
NOT PUBLISH

Tex.
R. App. P. 47.2(b)

&nbsp;

DELIVERED: December 6, 2012









[1]See Tex. R. App. P. 47.4.







